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            Billing Summary for Donovan I and III engagement
Jim Roy

   •   Deductible\SIR - $25,000
   •   Donovan III only
   •   Costs: $0

Timekeeper             Hourly Rate         Time Expended          Fees
Robert M. Klein        $225.00             1.1                    $247.50
Richard M. Jones       $225.00             24.10                  $5,422.50
                                           25.2                   $5,670
Stephen Herman

   •   Deductible\SIR - $200,000

COSTS: $400 (for notice of Removal in Donovan I)

                                Donovan I
Timekeeper             Hourly Rate    Time Expended               Fees
Robert M. Klein        $250.00        1.0; .1 [1.1]               Total
(Partner)                                                         $275.00

Richard M. Jones       $250.00              46.70; 52.80;         Total
(Partner)                                   26.80;.7 [127]        $31,750.00
Andrew M. Feldman      $250.00              19.60                 Total
(Partner)                                                         $4,900
Lelia M. Schleier      $200.00              25.50; 3.20; [28.7]   Total
(Associate)                                                       $5,740
Christopher J. Fraga   $200.00              23.40; 22.00; .4      Total
(Associate)                                 [45.8]                $9,160

Lucilla C. Marques     $105.00              2.40                  Total
(Paralegal)                                                       $252
Kayla Heckman          $105.00              6.0; 5.0; 7 [11.7]    Total
(Summer                                                           $1,228.50
Associate\Law
Clerk)
Total                                    236.3 Hours              $53,305.50
                                  Donovan III
Robert M. Klein        $250.00           1.2                      Total
(Partner)                                                         $300.00

Richard M. Jones       $250.00              3.8; 20.10 [23.9]     Total
(Partner)                                                         $5,975

                                   Page 1 of 2
                                                                              Exhibit
                                                                               1-A
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Total                                 25.1 Hours              $6,275
                   Grand Totals for Donovan I and III
Totals:                               261 Hours               59,580.50


                     Totals and Reductions Chart:

Case       Hours Fees           Costs    Total       Carrier      Actual
                 Billed         Billed               Reduction    Fees Paid
Donovan    236.3 $53.305.50
I
(Herman)
Donovan     25.1   $ 6,275.00
III
(Herman)
Subtotal           $59,580.50   400.00   59,980.50   365.00       $59,615.50
Donovan     25.2   $ 5,670.00             5,670.00                $5,670.00
III
(Roy)
Totals:    286.6   $65,250.50 400.00 $65,650.60 365.00            $65,285.50




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                                        LAW OFFICES OF




                                                                                 WEST PALM BEACH OFFICE
                                    Two Datran Center - Suite 2000                 Telephone 561.655.1500
                                    9130 South Dadeland Boulevard                     Fax 561.659.2093
                                         Miami, Florida 33156
                                       Telephone 305.670.3700
                                          Fax 305.670.8592
                                          I.D. # XX-XXXXXXX



PERSONAL AND CONFIDENTIAL                                                          April 24, 2019
Stephen J. Herman, Esquire                                           DEDUCTIBLE BILL NO.: 18186
Herman, Herman & Katz, LLC


CLIENT:    SHAND_DED - MARKEL SERVICE, INC. (MARKEL/SHAND DEDUCTIBLES)
Re:        194154A DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
           CLAIM #: MXXL55703 PROSIGHT: EWR0016103
           INS: Stephen J. Herman, Esq, Herman, Herman & Katz
           CLMT: Brian J. Donovan, Esquire/RMK/RMJ
           EMAIL:
           DIRECT

Date       Atty   Services                                               Hours
02/25/19   RMK    Multiple telephone conferences with Chad Zupke re:      0.40
                  new matter
02/27/19   RMK    Review/analyze email from Steve Herman enclosing        0.60
                  complaint, case law and initial thoughts on defense of
                  matter
02/27/19   LCM    Review/analyze 28 USC 1441 and case law re:             0.80

                                                         (paralegal)
02/28/19   CJF    Review/analyze Review and analyze case file,                  2.70
                  including voluminous complaint, in preparation for
                  ongoing legal research related to

03/01/19   RMK    Communicate (with client) letter to Stephen Herman            0.10
                  confirming to represent by Markel (NO CHARGE)
03/01/19   RMK    Communicate (with client) new file acknowledgment             0.10
                  letter to Chad Zupke (NO CHARGE)
03/07/19   CJF    Draft and Revise Begin to draft and revise Notice of          0.70
                  Removal and various exhibits in preparation for filing
                  and removal to federal court in the Middle District of
                  Florida
03/07/19   CJF    Review/analyze Continued review of case file in               1.30
                  preparation for drafting of motion for removal
03/07/19   CJF    Draft and Revise Begin drafting of motion for removal         1.60
                  in order to remove to federal court in the Middle
                  District of Florida
03/08/19   CJF    Review/analyze Review and analyze case file,                  1.70
                  including complaint, in preparation for filing motion to
                  transfer to federal court
03/08/19   RMJ    Communicate (with client) initial conference with             0.50
                  client and discussion re strategy
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                          KLEIN GLASSER PARK & LOWE P.L.

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Date       Atty   Services                                                  Hours
03/10/19   CJF    Review/analyze Review and analyze case file re:            0.70


03/10/19   CJF    Draft and Revise Begin to draft and revise Notice of       2.50
                  Removal in order to remove case to federal court in
                  the Middle District of Florida
03/11/19   CJF    Review/analyze Review and analyze docket,                  0.10
                  including two affidavits of service, in order to
                  determine date of service for purposes of removal
                  deadline
03/11/19   CJF    Draft and Revise Finalize drafting and revision of         0.60
                  Notice of Removal, to incorporate factual specifics
                  with regards to service, in order to remove case to
                  federal court in the Middle District of Florida
03/12/19   CJF    Research Legal research re:                                1.00


                                                         per approval of
                  Chad Zupke)
03/12/19   CJF    Draft and Revise Draft and revise affidavit of Herman      3.20
                  to dispute jurisdiction in support of notice of removal
03/12/19   LMS    Review/analyze Review notice of removal prepared           0.70
                  by CF to ensure compliance with and appropriate
                  under federal law
03/12/19   LMS    Review/analyze Review proposed affidavit in support        0.40
                  notice of removal prepared by CF to ensure
                  compliance with and appropriate under federal law
03/12/19   LMS    Review/analyze Review of legal authority, including        0.60
                  research by CF, re:


03/13/19   LMS    Draft and Revise Prepare civil cover sheet to file         0.20
                  notice of transfer and ensure it accurately reflects
                  posture of case
03/13/19   LMS    Review/analyze Final review and analysis of notice of      0.90
                  removal, executed supporting affidavit, and all
                  exhibits, and state court docket entries being filed to
                  ensure compliant with Middle District rules and
                  federal rules
03/15/19   CJF    Draft and Revise Draft and revise Motion for               1.40
                  Extension of Time to file responsive pleading
03/15/19   CJF    Draft and Revise Draft and revise Proposed Order on        0.30
                  Motion for Extension of Time to file responsive
                  pleading
03/18/19   RMJ    Review/analyze standards for "tag-along" motion in         0.50
                  MDL court
03/20/19   CJF    Review/analyze Review and analyze case file,               0.60
                  including MDL docket, in preparation for drafting of
                  notice of tag-along
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                          KLEIN GLASSER PARK & LOWE P.L.

Client Ref: 194154 - DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
DEDUCTIBLE BILL NO.: 18186                                                             Page 3
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Date       Atty   Services                                                     Hours
03/20/19   CJF    Review/analyze Review and analyze Rules of                    0.30
                  Procedure for the United States Judicial Panel on
                  Multidistrict Litigation in preparation for filing notice of
                  tag-along, proof of service and schedule of action
                  with MDL
03/20/19   CJF    Draft and Revise Draft and revise notice of tag-along,        1.30
                  proof of service and schedule of action for
                  submission to MDL
03/20/19   CJF    Research Legal research re:                                   1.50


                  (per approval of Chad Zupke)
03/20/19   RMJ    Review/analyze and edit notice of tag along                  0.30
03/20/19   RMJ    Communicate (with client) email to Chad Zupke                0.10

03/21/19   RMK    Review/analyze related case order and track two              0.10
                  notice (NO CHARGE)
03/22/19   CJF    Draft and Revise Draft and revise updates to notice          1.90
                  of tag-along in preparation for filing
03/22/19   RMJ    Research re:                                                 1.90



                                                                (per
                  approval of Chad Zupke)
03/23/19   RMJ    Review/analyze Tag-Along notice prepared by CJF              0.50
03/23/19   RMJ    Review/analyze CJF notes on motion to dismiss                0.40
03/25/19   RMJ    Research Research re:                                        2.10




                                  (per approval of Chad Zupke)
03/25/19   RMJ    Communicate (with client) multiple emails with client        0.30
                  re:
03/25/19   RMJ    Draft and Revise revised Notice of Tag-Along;                5.60
                  significant revisions to notice to incorporate detailed
                  road map from the complaint; materials from the
                  other three cases filed by Donovan against Kenneth
                  Feinberg; review of exhibits to be used in support of
                  notice
03/25/19   LMS    Review/analyze Review of legal authority on                  0.50

                  (per approval of Chad Zupke)
03/26/19   RMJ    Draft and Revise motion to stay proceedings (if              4.10
                  Conditional transfer order entered)
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                          KLEIN GLASSER PARK & LOWE P.L.

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Date       Atty   Services                                                 Hours
03/26/19   RMJ    Draft and Revise motion to dismiss; drafted               4.30
                  arguments addressing issue of standing; drafted
                  arguments related to claims for negligence, gross
                  negligence, and negligence per se
03/26/19   RMJ    Draft and Revise finalized tag-along notice for filing    0.90
03/26/19   RMJ    Communicate (with client) multiple emails with            0.20
                  Stephen Herman re:
03/26/19   LCM    Draft and Revise Notice of Filing Potential Tag Along, 1.60
                  Proof of Service, Schedule of Potential Tag Along
                  Action, Notice of Removal, etc. for any and all cites to
                  exhibits, etc., (paralegal)
03/27/19   RMJ    Draft and Revise motion to dismiss complaint              3.50
                  continued work on legal arguments re: negligence
                  claims
03/27/19   RMJ    Research re:                                              2.20


03/27/19   RMJ    Communicate (with client) multiple emails re:            0.40

03/27/19   RMJ    Communicate (with client)                                0.30

03/27/19   RMJ    Draft and Revise (continued) work on motion to           2.50
                  dismiss; continued working through various counts
                  contained in the complaint and drafting arguments re:
                  same
03/27/19   RMJ    Review/analyze MDL rules on tag-along; review of         0.50
                  other tag-along notices to determine rough time
                  frame for CTO and when we can expert a ruling
03/27/19   LMS    Appear for/attend Attend case management                 0.50
                  conference to discuss case management report
                  issues (per approval of Chad Zupke)
03/27/19   LMS    Review/analyze Review and analysis of voluminous         2.40
                  Complaint to provide litigation support on Motion to
                  Dismiss re: procedural arguments
03/28/19   RMK    Review/analyze Plaintiff's motion to remand              0.40
03/28/19   RMJ    Appear for/attend case management meeting with           0.50
                  opposing counsel
03/28/19   RMJ    Draft and Revise case management report                  1.50
03/28/19   RMJ    Communicate (with client) multiple emails with client    0.20
                  re:
03/28/19   RMJ    Communicate (other external) multiple emails with        0.20
                  opposing counsel re: mediator selection
03/28/19   RMJ    Draft and Revise additional work on standing             3.40
                  argument in motion to dismiss; draft outline of Rule
                  8/Rule 9 arguments that will be drafted by LMS
03/28/19   RMJ    Draft and Revise motion to dismiss arguments             5.50
                  attacking last six causes of action in the complaint
                  related to fraud
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                          KLEIN GLASSER PARK & LOWE P.L.

Client Ref: 194154 - DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
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Date       Atty   Services                                                    Hours
03/28/19   KH     Review/analyze Reviewed 130 page complaint and               3.60
                  began drafting the fact section in preparation of
                  motion to dismiss (billed at paralegal rate)
03/28/19   AMF    Plan and prepare for Plan and prepare for motion to          1.40
                  dismiss complaint; reviewed 130 page complaint in
                  preparation for drafting motion and specifically for
                  drafting res judicata arguments
03/28/19   AMF    Review/analyze all relevant orders and opinions              2.20
                  relating to MDL 2179 (extensive review of items in a
                  docket containing over 2000 entries)
03/28/19   AMF    Research Research                                            2.30



                             (per approval of Chad Zupke)
03/28/19   AMF    Research                                                     0.90

                                         (per approval of Chad Zupke)
03/28/19   AMF    Draft and Revise Draft and revise motion to dismiss:         1.70
                  argument portion based on doctrine of collateral
                  estoppel; argued generally that the action is a
                  collateral attack on litigation to which the plaintiff is
                  bound (per approval of Chad Zupke)
03/28/19   LMS    Review/analyze Review and analysis of legal                  0.50
                  authority re:

                                                 (per approval of
                  Chad Zupke)
03/28/19   LMS    Review/analyze Review and analysis of legal                  1.60
                  authority re:
                                  (per approval of Chad Zupke)
03/28/19   LMS    Review/analyze Review and analysis of                        0.90



03/29/19   KH     Draft and Revise Continued to draft and revise the           2.40
                  fact section of motion to dismiss (billed at paralegal
                  rate)
03/29/19   RMJ    Review/analyze and finalized case management                 0.50
                  report
03/29/19   RMJ    Communicate (other external) multiple emails with            0.30
                  client re:
03/29/19   AMF                                                                 4.30




                  (continued)
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                          KLEIN GLASSER PARK & LOWE P.L.

Client Ref: 194154 - DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
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Date       Atty   Services                                                   Hours
03/29/19   AMF    Draft and Revise Draft and revise motion to dismiss:        3.20
                  outlining various specific challenges raised in
                  complaint and included analysis and application of
                  estoppel elements as recognized in the Eleventh
                  Circuit
03/29/19   LMS    Draft and Revise Prepare certificate of interested          0.40
                  persons
03/29/19   LMS    Communicate (other external) E-mail exchange with           0.20
                  Chad Zupke re:

03/29/19   LMS    Communicate (with client) E-mail exchange with              0.20
                  Steve Herman re:

03/29/19   LMS    Draft and Revise Multiple revisions to case                 2.20
                  management report to incorporate changes
                  requested by Plaintiff's counsel and conform with
                  directions from client and claims representative
03/29/19   LMS    Communicate (other outside counsel) Multiple                0.40
                  e-mails with Plaintiff's counsel re: finalizing changes
                  to case management report
03/29/19   LMS    Review/analyze Review of factual summary prepared           0.80
                  by law clerk to revise and supplement the same for
                  motion to dismiss
03/29/19   LMS    Communicate (other outside counsel) E-mail                  0.10
                  exchange with Tim Malloy re: certification in Middle
                  District as mediator and whether he would be suited
                  to this action
03/29/19   LMS    Draft and Revise motion to dismiss, focusing on             3.60
                  introduction and summary of argument and factual
                  allegations tailored to the legal argument
03/30/19   AMF    Draft and Revise Completed drafting portion of              3.60
                  motion to dismiss complaint as an impermissible
                  collateral attack on proceeding to which the plaintiff
                  and his principals are legally bound
03/30/19   LMS    Review/analyze Review and analysis of legal                 2.30
                  authority re:


03/30/19   LMS    Review/analyze Conduct additional research on               1.20


03/30/19   LMS    Draft and Revise Continue to draft motion to dismiss,       4.90
                  incorporating further analysis into each of the various
                  arguments for standing, pleading deficiencies, and
                  failure to sufficiently state elements of each claim, as
                  well as incorporate estoppel argument
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                         KLEIN GLASSER PARK & LOWE P.L.

Client Ref: 194154 - DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
DEDUCTIBLE BILL NO.: 18186                                                         Page 7
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Date       Atty   Services                                              Hours
03/31/19   RMJ    Draft and Revise motion to dismiss with prejudice;     3.50
                  revised entire motion to bring it within page limits;
                  modified various arguments to make them leaner and
                  more focused; reworked arguments on breach of
                  fiduciary duty; revised arguments to synergize
                  sections prepared by the entire team

                                 Summary of Services
Atty                                                   Rate           Hours       Amount
RMK        ROBERT M. KLEIN (M)                         0.00             0.70          0.00
RMK        ROBERT M. KLEIN (M)                       250.00             1.00        250.00
RMJ        RICHARD M. JONES (M)                      250.00            46.70     11,675.00
AMF        ANDREW M. FELDMAN (M)                     250.00            19.60      4,900.00
LMS        LELIA M. SCHLEIER (M)                     200.00            25.50      5,100.00
CJF        CHRISTOPHER J. FRAGA (M)                  200.00            23.40      4,680.00
LCM        LUCILLA C. MARQUES (M)                    105.00             2.40        252.00
KH         KAYLA HECKMAN (M)                         105.00             6.00        630.00
Total for Services                                                    125.30    $27,487.00

Date      Expenses                                                                Amount
03/13/19  Filing Fee 3/13 GSGAMEX/AL/FLMD CM ECF;Check#18327 -                     400.00
          GREGORY S. GLASSER
Total Expenses                                                                    $400.00

                                                    Sub Total                   $27,887.00

                          Your portion of due amount 100 %                      $27,887.00

                             Total for Services and Expenses                    $27,887.00
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          Please return this page with remittance
                                         to
                          Klein Glasser Park & Lowe, P.L.
                            9130 South Dadeland Blvd.
                                     Suite 2000
                               Miami, Florida 33156
                                   (305)670-3700

DEDUCTIBLE BILL NO.: 18186
Bill Date:           April 24, 2019
Matter Code:         194154A
Matter Name:         DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.

                                                Sub Total           $27,887.00

                             Your portion of due amount             $27,887.00

                         Total for Services and Expenses            $27,887.00


            Amount enclosed: ____________________________________
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                                        LAW OFFICES OF




                                                                                WEST PALM BEACH OFFICE
                                   Two Datran Center - Suite 2000                Telephone 561.655.1500
                                   9130 South Dadeland Boulevard                    Fax 561.659.2093
                                        Miami, Florida 33156
                                      Telephone 305.670.3700
                                         Fax 305.670.8592
                                         I.D. # XX-XXXXXXX



PERSONAL AND CONFIDENTIAL                                                         June 28, 2019
Stephen J. Herman, Esquire                                          DEDUCTIBLE BILL NO.: 18509
Herman, Herman & Katz, LLC



CLIENT:    SHAND_DED - MARKEL SERVICE, INC. (MARKEL/SHAND DEDUCTIBLES)
Re:        194154A DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
           CLAIM #: MXXL55703 PROSIGHT: EWR0016103
           INS: Stephen J. Herman, Esq, Herman, Herman & Katz
           CLMT: Brian J. Donovan, Esquire/RMK/RMJ
           EMAIL:
           DIRECT

Date       Atty   Services                                              Hours
03/28/19   KH1    Review/analyze Revise and read through Donovan         3.40
                  complaint (130 pages) and organized facts in
                  preparation of drafting motion to dismiss (paralegal)
03/29/19   KH1    Review/analyze Review of docket and related suits      0.60
                  under Donovan case in preparation of drafting motion
                  to dismiss fact section (paralegal)
03/30/19   KH1    Draft and Revise Continued draft and revise fact       1.00
                  section for the Donovan motion to dismiss (paralegal)
04/01/19   RMK    Draft and Revise finalize Defendant's motion to        0.30
                  dismiss (NO CHARGE)
04/01/19   RMJ    Draft and Revise and finalized motion to dismiss       2.50
04/01/19   RMJ    Communicate (with client) multiple emails re: motion   0.30
                  to dismiss
04/01/19   RMJ    Communicate (with client) multiple emails with Chad    0.20
                  Zupke re:

04/02/19   CJF    Review/analyze Review and analyze Middle District of         0.20
                  Florida Local Rules in preparation for drafting
                  Response to Plaintiff's Motion to Remand in order to
                  assure compliance
04/03/19   CJF    Review/analyze Review and analyze Plaintiff's Motion         0.40
                  to Remand in preparation for drafting Response
04/03/19   CJF    Draft and Revise Draft and revise introductory section       0.60
                  of Response to Plaintiff's Motion to Remand
04/03/19   CJF    Research Legal research re:                                  0.30
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                          KLEIN GLASSER PARK & LOWE P.L.

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Date       Atty   Services                                                  Hours
04/03/19   CJF    Draft and Revise Draft and revise argument section         1.10
                  of Response to Plaintiff's Motion to Remand related
                  to no need to identify non-parties in Motion to
                  Remove
04/03/19   CJF    Draft and Revise Draft and revise argument section         2.10
                  of Response to Plaintiff's Motion to Remand
                  addressing propriety of remand for the purposes of
                  transferring and consolidating under MDL
04/04/19   RMK    Review/analyze notice of hearing on Plaintiff's Motion     0.10
                  to Remand and Defendant's Motion to Dismiss (NO
                  CHARGE)
04/04/19   CJF    Review/analyze Review and analyze dockets,                 0.40
                  including complaints and transfer orders, of three
                  related cases previously filed by Plaintiff and
                  subsequently transferred to MDL in order to
                  determine citizenship of parties and in preparation for
                  drafting Notice of Pendency of Other Action for filing
04/04/19   CJF    Draft and Revise Draft and revise Notice of Pendency 0.90
                  of Other Action for filing as required by Middle District
                  of Florida Local Rule 1.04(d)
04/04/19   CJF    Review/analyze Review and analyze MDL Conditional 0.10
                  Transfer Order
04/04/19   RMJ    Draft and Revise notice of pendency of other actions       0.10
04/04/19   RMJ    Communicate (with client) multiple emails with client      0.20
                  re:
04/04/19   RMJ    Review/analyze order from court setting case               0.10
                  management hearing
04/04/19   RMJ    Communicate (with client) multiple emails with client      0.20
                  re:
04/04/19   RMJ    Review/analyze conditional transfer order                  0.20
04/04/19   RMJ    Communicate (with client) multiple emails with client      0.20
                  re:                           r
04/04/19   RMJ    Review/analyze paperless order from court cancelling 0.20
                  case management hearing and awaiting transfer to
                  MDL-2179
04/04/19   RMJ    Review/analyze pendency of related case filed by           0.20
                  Plaintiff
04/04/19   RMJ    Communicate (with client) email to adjustor letting        0.10
                  him know that

04/08/19   CJF    Draft and Revise Draft and revise arguments section       1.10
                  of response to Motion to Remand related to removal
                  being proper irrespective of it having been done for
                  purposes of subsequent transfer to MDL
                  incorporating arguments related to case law and
                  holdings in MDL No. 10 and 18
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                          KLEIN GLASSER PARK & LOWE P.L.

Client Ref: 194154 - DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
DEDUCTIBLE BILL NO.: 18509                                                         Page 3
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Date       Atty   Services                                                 Hours
04/08/19   CJF    Research Legal research re:                               1.50




04/08/19   CJF    Draft and Revise Draft and Revise arguments section       2.50
                  of Response to Motion to Remand related to
                  complete diversity of the parties and no need for the
                  Notice of Removal to address citizenship of non-party
                  members of the plaintiffs' steering committee
04/08/19   CJF    Draft and Revise Revise entirety of Response to           0.40
                  Motion to Remand in preparation for submission to
                  RMJ in anticipation of filing
04/09/19   CJF    Review/analyze Review and analyze Plaintiff's Notice      0.10
                  of Opposition to Conditional Transfer Order
04/09/19   CJF    Review/analyze Review and analyze docket, with            0.40
                  particular focus on August 10, 2010 Order, in order to
                  determine justifications underpinning clerk's decision
                  to issue conditional transfer order in preparation for
                  drafting additional arguments in response to motion
                  for remand re: no guarantee of transfer to MDL at
                  time of filing notice of removal
04/09/19   CJF    Draft and Revise Draft and revise arguments section       0.50
                  re: "PARTIES" section of complaint only includes
                  Donovan and client based on RMJ comments in
                  preparation for filing
04/09/19   CJF    Draft and Revise Draft and revise arguments section       0.70
                  re: no guarantee of transfer to MDL at time of filing
                  notice of removal fact and that MDL clerk issued
                  conditional transfer order cuts against plaintiff's
                  argument that removal for transfer was improper
04/09/19   CJF    Research Legal research re:                               0.60




04/09/19   CJF    Draft and Revise Draft and revise arguments section       0.30
                  re: absent CTO from MDL, we fully intended to file for
                  transfer under 28 USC 1404
04/09/19   RMJ    Communicate (with client) email to client                 0.10

04/09/19   RMJ    Draft and Revise revisions to response in opposition      0.40
                  to motion to remand
04/10/19   CJF    Draft and Revise Further draft and revise response to     0.80
                  motion to remand, including refining argument related
                  to misattribution of quotations to Celotex holding, in
                  preparation for filing
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 14 of 40
                          KLEIN GLASSER PARK & LOWE P.L.

Client Ref: 194154 - DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
DEDUCTIBLE BILL NO.: 18509                                                        Page 4
June 28, 2019
Label147
Date       Atty   Services                                               Hours
04/10/19   RMJ    Draft and Revise edits and revisions to motion to       0.90
                  remand; reworked legal arguments and added extra
                  focus on the allegations in the complaint; sent back
                  to CJF for citation edits
04/11/19   RMJ    Draft and Revise and finalized response in opposition   0.50
                  to motion to remand, filed same
04/11/19   RMJ    Review/analyze paper less order denying motion to       0.10
                  remand
04/12/19   RMJ    Communicate (other external) telephone conference       0.20
                  with Judge's Chambers re: hearing inadvertently set
                  for April 17, 2019
04/15/19   CJF    Review/analyze Review and analyze plaintiff's           0.30
                  response to our motion to dismiss
04/15/19   RMK    Review/analyze Receipt of Plaintiff's opposition to our 0.20
                  motion to dismiss (14 pages) (NO CHARGE)
04/15/19   RMJ    Review/analyze response to motion to dismiss            0.50
04/22/19   CJF    Review/analyze Review and analyze Plaintiff's Motion 0.60
                  to Vacate Conditional Transfer Order (CTO-139),
                  including memorandum of law in support thereof
04/22/19   RMJ    Review/analyze brief in opposition to motion to         0.40
                  transfer to MDL 2179 (CTO- 139)
04/22/19   RMJ    Communicate (with client) multiple emails re:           0.20

04/23/19   CJF    Review/analyze Review and analyze Plaintiff's            0.50
                  Memorandum of Law in support of their motion to
                  request the court place on the public record the total
                  amount and source of compensation
04/23/19   CJF    Research Legal research re:                              1.00




04/23/19   RMJ    Draft and Revise notice of attorney appearance and       0.40
                  corporate disclosure
04/23/19   RMJ    Review/analyze jurisdictional arguments used in the      0.40
                  earlier Ken Feinberg cases to secure transfer to MDL
                  2179
04/29/19   RMJ    Draft and Revise work on response to motion to           0.80
                  vacate conditional transfer order
04/30/19   RMJ    Draft and Revise work on opposition to Plaintiff's       4.80
                  motion to vacate CTO
04/30/19   RMJ    Draft and Revise budget                                  0.50
05/01/19   RMJ    Draft and Revise (continued) on response in              3.50
                  opposition to motion to vacate CTO; significant
                  drafting of section comparing this case to prior
                  Donovan cases
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 15 of 40
                          KLEIN GLASSER PARK & LOWE P.L.

Client Ref: 194154 - DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
DEDUCTIBLE BILL NO.: 18509                                                         Page 5
June 28, 2019
Label147
Date       Atty   Services                                                 Hours
05/02/19   RMJ    Draft and Revise (Continued) on response in               5.60
                  opposition to motion to vacate CTO; continued
                  drafting analysis of earlier claims
05/03/19   RMJ    Draft and Revise continued work on response in            3.80
                  opposition to motion to vacate; detailed dive into
                  Plaintiff's activities in MDL 2179 to justify why this
                  case should be transfer to the E.D.LA; continued
                  drafting of arguments showing the overlap between
                  this claim and Plaintiff's three earlier filed lawsuits
05/06/19   RMJ    Draft and Revise (continued) work on opposition to        3.80
                  motion to vacate; review of PTO regarding fees to
                  compare against claims made by Donovan; review of
                  earlier filed CTO opposition papers filed by the
                  parties in the three earlier fineberg cases
05/07/19   RMJ    Draft and Revise continued work on response to            4.60
                  motion to vacate CTO based upon findings from
                  earlier cases
05/09/19   CJF    Review/analyze Review and analyze exhibits for            2.10
                  inclusion in support of revised response to motion to
                  vacate
05/09/19   LMS    Draft and Revise Continue to draft response to            1.80
                  Plaintiff's motion to vacate conditional transfer order,
                  including referencing appropriate exhibits to same
                  (additional timekeeper approved by Chad Zupke)
05/10/19   RMJ    Communicate (with client) re: current                     0.20

05/12/19   LMS    Review/analyze Review and analysis of client's           0.80
                  proposed edits to motion to vacate CTO to prepare
                  revisions incorporating same (additional timekeeper
                  approved by Chad Zupke)
05/12/19   LMS    Draft and Revise Supplement and amend motion to          0.60
                  vacate CTO incorporating proposed revisions from
                  client (additional timekeeper approved by Chad
                  Zupke)
05/13/19   CJF    Research Legal research re:                              1.60




05/13/19   CJF    Draft and Revise Draft and revise arguments section      0.60
                  of response in opposition to motion to vacate
                  conditional transfer order incorporating case law
                  governing transfer to MDL
05/13/19   RMJ    Draft and Revise significant revisions to response to    3.10
                  motion to vacate CTO

05/14/19   RMJ    Draft and Revise and finalized response to motion to     3.40
                  vacate; made addition revisions to sections dealing
                  with related CTO
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 16 of 40
                          KLEIN GLASSER PARK & LOWE P.L.

Client Ref: 194154 - DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
DEDUCTIBLE BILL NO.: 18509                                                              Page 6
June 28, 2019
Label147
Date       Atty   Services                                             Hours
05/14/19   RMJ    Draft and Revise and approve exhibits to response to  0.50
                  motion to vacate
05/14/19   RMJ    Communicate (with client) multiple emails             0.30

05/15/19   RMJ    Communicate (other external) update to adjustor re:        0.30


05/15/19   RMJ    Draft and Revise work on initial case analysis             2.20
05/16/19   RMJ    Draft and Revise (significant) case analysis report for    2.50
                  carrier
05/17/19   RMJ    Review/analyze order requesting a status update            0.10
                  from the parties
05/17/19   RMJ    Review/analyze                                             0.40


05/17/19   RMJ    Draft and Revise continued work on case analysis           0.60
05/17/19   RMJ    Review/analyze order requesting status conference          0.10
                  by Judge Covington
05/20/19   RMJ    Draft and Revise joint status report to Court              0.50
05/20/19   RMJ    Draft and Revise continued work on case analysis           1.30
05/21/19   RMJ    Review/analyze Plaintiff's reply in support of motion      0.50
                  to vacate
05/21/19   RMJ    Review/analyze Plaintiff's notice of filing reply in       0.10
                  support of motion to vacate
05/21/19   RMJ    Draft and Revise revisions to joint status report          0.10
05/21/19   RMJ    Communicate (other external) multiple emails with          0.20
                  opposing counsel re: status report to judge
05/22/19   CJF    Review/analyze Review and analyze Plaintiff's Reply        0.30
                  in Support of his Motion to Vacate CTO
05/22/19   RMJ    Review/analyze paperless order closing briefing            0.10
05/22/19   RMJ    Draft and Revise status update to the carrier              0.20
05/24/19   RMJ    Review/analyze plaintiff's second notice of                0.10
                  appearance
05/24/19   RMK    Review/analyze Donovan's notice of appearance in           0.10
                  MDL (NO CHARGE)

                                   Summary of Services
Atty                                                        Rate            Hours      Amount
RMK        ROBERT M. KLEIN (M)                              0.00              0.70         0.00
RMJ        RICHARD M. JONES (M)                           250.00             52.80    13,200.00
LMS        LELIA M. SCHLEIER (M)                          200.00              3.20       640.00
CJF        CHRISTOPHER J. FRAGA (M)                       200.00             22.00     4,400.00
KH1        KAYLA HECKMAN (M)                              105.00              5.00       525.00
Total for Services                                                           83.70   $18,765.00
  Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page$18,765.00
                                          Sub Total
                                                                  17 of 40

                                   Your portion of due amount 100 %                             $18,765.00

                                        Total for Services and Expenses                         $18,765.00

                                                                  Past Due                      $12,887.00

                                                           Amount Due                           $31,652.00

                     BILLING HISTORY FOR OUTSTANDING AR - THIS BILL

Matter Code   Date        Bill Number          Fees      Costs     Bill Amount   Balance Due
194154A       4/24/2019   18186             27,487.00      0.00      27,487.00      12,887.00
                                                                     27,487.00      12,887.00
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 18 of 40


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                                   (305)670-3700

DEDUCTIBLE BILL NO.: 18509
Bill Date:           June 28, 2019
Matter Code:         194154A
Matter Name:         DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.

                                                Sub Total           $18,765.00

                             Your portion of due amount             $18,765.00

                         Total for Services and Expenses            $18,765.00

                                                Past Due            $12,887.00

                                             Amount Due             $31,652.00

            Amount enclosed: ____________________________________
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 19 of 40
                                        LAW OFFICES OF




                                                                                WEST PALM BEACH OFFICE
                                   Two Datran Center - Suite 2000                Telephone 561.655.1500
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                                        Miami, Florida 33156
                                       Telephone 305.670.3700
                                          Fax 305.670.8592
                                          I.D. # XX-XXXXXXX



PERSONAL AND CONFIDENTIAL                                                      October 25, 2019
Stephen J. Herman, Esquire                                          DEDUCTIBLE BILL NO.: 19102
Herman, Herman & Katz, LLC



CLIENT:    SHAND_DED - MARKEL SERVICE, INC. (MARKEL/SHAND DEDUCTIBLES)
Re:        194154A DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
           CLAIM #: MXXL55703 PROSIGHT: EWR0016103
           INS: Stephen J. Herman, Esq, Herman, Herman & Katz
           CLMT: Brian J. Donovan, Esquire/RMK/RMJ
           EMAIL:
           DIRECT

Date       Atty   Services                                                Hours
06/04/19   RMJ    Review/analyze latest filings in MDL 2179 matter         0.40
06/18/19   RMJ    Review/analyze order designating the case as not         0.20
                  appropriate for oral argument and placing
                  consideration of the motion to transfer on the July 25,
                  2019 docket
06/18/19   RMJ    Communicate (with client)                                0.20



07/12/19   RMJ    Draft and Revise work on case analysis for Markel            3.30
07/15/19   RMJ    Draft and Revise Significant work on case analysis           4.40
                  for Markel,

07/15/19   RMJ    Draft and Revise Continued work on initial case              4.10
                  analysis
07/16/19   RMJ    Draft and Revise Continued work on liability analysis        6.50


07/17/19   KH1    Draft and Revise revise and edit our case report to          1.20
                  carrier for proofreading purposes (paralegal) (NO
                  CHARGE)
07/17/19   KH1    Research                                                     0.70



                         (paralegal)
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 20 of 40
                          KLEIN GLASSER PARK & LOWE P.L.

Client Ref: 194154 - DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
DEDUCTIBLE BILL NO.: 19102                                                            Page 2
October 25, 2019
Label147
Date       Atty   Services                                                 Hours
07/17/19   RMJ    Draft and Revise completed first draft of case            4.50
                  analysis,




07/18/19   RMJ    Communicate (with client) email from Steve Herman         0.10

07/29/19   RMJ    Review/analyze Brian Donovan's motion to recuse           0.40
                  Judge Barbier
07/29/19   RMJ    Communicate (with client) multiple emails with client     0.20
                  re:
07/31/19   RMK    Review/analyze transfer order from the Multidistricit     0.10
                  Litigation Panel
07/31/19   CJF    Review/analyze Review and analyze MDL No. 2179            0.10
                  transfer order
07/31/19   RMJ    Review/analyze order transferring case to MDL 2179        0.20
07/31/19   RMJ    Communicate (with client) multiple emails with client     0.20
                  re:
07/31/19   RMJ    Communicate (with client) multiple emails with carrier    0.20
                  re:
07/31/19   RMJ    Review/analyze Plaintiff's social media to see if any     0.20
                  discussion of order has been made
08/09/19   RMJ    Review/analyze various PTOs filed in the transferred      0.40
                  case
08/09/19   RMJ    Review/analyze Brian Donovan's motion to disqualify       0.30
                  Judge Barbier
08/09/19   RMJ    Review/analyze social media posts of Brian Donovan        0.30
                  re: transfer motion
08/16/19   RMJ    Review/analyze PTO-12 filing requirements                 0.20
09/11/19   RMJ    Review/analyze response in opposition to motion to        0.30
                  recuse filed by Steve Herman
09/18/19   CJF    Review/analyze Review and analyze Plaintiff's Reply       0.30
                  in Support of Motion to Recuse
09/18/19   RMJ    Communicate (with client) multiple emails re:             0.20




                               Summary of Services
Atty                                                 Rate                  Hours     Amount
RMK        ROBERT M. KLEIN (M)                     250.00                    0.10       25.00
RMJ        RICHARD M. JONES (M)                    250.00                   26.80    6,700.00
CJF        CHRISTOPHER J. FRAGA (M)                200.00                    0.40       80.00
KH1        KAYLA HECKMAN (M)                         0.00                    1.20        0.00
KH1        KAYLA HECKMAN (M)                       105.00                    0.70       73.50
Total for Services                                                          29.20   $6,878.50
  Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 21
                                          Sub Total
                                                                     of 40
                                                                  $6,878.50

                                   Your portion of due amount 100 %                            $6,878.50

                                        Total for Services and Expenses                        $6,878.50

                                                                  Past Due                      $450.50

                                                           Amount Due                          $7,329.00

                     BILLING HISTORY FOR OUTSTANDING AR - THIS BILL

Matter Code   Date        Bill Number          Fees      Costs     Bill Amount   Balance Due
194154A       6/28/2019   18509             18,765.00      0.00      18,765.00        450.50
                                                                     18,765.00        450.50
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DEDUCTIBLE BILL NO.: 19102
Bill Date:           October 25, 2019
Matter Code:         194154A
Matter Name:         DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.

                                                Sub Total              $6,878.50

                             Your portion of due amount                $6,878.50

                         Total for Services and Expenses               $6,878.50

                                                Past Due                $450.50

                                             Amount Due                $7,329.00

            Amount enclosed: ____________________________________
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 23 of 40
                                        LAW OFFICES OF




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                                        Miami, Florida 33156
                                      Telephone 305.670.3700
                                         Fax 305.670.8592
                                         I.D. # XX-XXXXXXX



PERSONAL AND CONFIDENTIAL                                                         January 14, 2020
Stephen J. Herman, Esquire                                             DEDUCTIBLE BILL NO.: 19482
Herman, Herman & Katz, LLC



CLIENT:    SHAND_DED - MARKEL SERVICE, INC. (MARKEL/SHAND DEDUCTIBLES)
Re:        194154A DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
           CLAIM #: MXXL55703 PROSIGHT: EWR0016103
           INS: Stephen J. Herman, Esq, Herman, Herman & Katz
           CLMT: Brian J. Donovan, Esquire/RMK/RMJ
           EMAIL:
           DIRECT

Date       Atty   Services                                                      Hours
11/08/19   RMJ    Review/analyze order denying Donovan's motion to               0.30
                  recuse
11/09/19   RMJ    Communicate (with client) multiple emails with client           0.20
                  re:
11/11/19   CJF    Review/analyze Review and analyze Order on                      0.20
                  Donovan's Motion to Recuse (NO CHARGE)
11/11/19   CJF    Communicate (with client)                                       0.20


                         (NO CHARGE)
11/11/19   RMJ    Communicate (with client)                                       0.20


                                  Summary of Services
Atty                                                                  Rate      Hours         Amount
RMJ        RICHARD M. JONES (M)                                     250.00       0.70          175.00
CJF        CHRISTOPHER J. FRAGA (M)                                   0.00       0.40            0.00
Total for Services                                                               1.10         $175.00

                                                               Sub Total                      $175.00

                           Your portion of due amount 100 %                                   $175.00

                             Total for Services and Expenses                                  $175.00
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 24 of 40


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                                   (305)670-3700

DEDUCTIBLE BILL NO.: 19482
Bill Date:           January 14, 2020
Matter Code:         194154A
Matter Name:         DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.

                                                Sub Total              $175.00

                             Your portion of due amount                $175.00

                         Total for Services and Expenses               $175.00


            Amount enclosed: ____________________________________
       Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 25 of 40
                                                 LAW OFFICES OF




                                            Two Datran Center - Suite 2000
                                            9130 South Dadeland Boulevard
                                                 Miami, Florida 33156
MIAMI OFFICE                                                                            WEST PALM BEACH OFFICE
                                                  I.D. # XX-XXXXXXX
Telephone 305.670.3700                                                                     Telephone 561.655.1500
Fax 305.670.8592                                                                                 Fax 561.659.2093




     PERSONAL AND CONFIDENTIAL                                                          January 29, 2021
     Stephen J. Herman, Esquire                                              DEDUCTIBLE BILL NO.: 21399
     Herman, Herman & Katz, LLC



     CLIENT:        SHAND_DED - MARKEL SERVICE, INC. (MARKEL/SHAND DEDUCTIBLES)
     Re:            194154A DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
                    CLAIM #: MXXL55703 PROSIGHT: EWR0016103
                    INS: Stephen J. Herman, Esq, Herman, Herman & Katz
                    CLMT: Brian J. Donovan, Esquire/RMK/RMJ
                    EMAIL:
                    DIRECT NO..(

     Date           Atty   Services                                                   Hours
     02/20/20       RMJ    Review/analyze multiple orders and motions filed in         0.30
                           MDL-2179 to prepare report to Markel\Prosight (NO
                           CHARGE)
     02/21/20       RMJ    Communicate (with client) follow up to carrier that          0.10
                                                      (NO CHARGE)
     03/27/20       RMK    Review/analyze Defendant Herman's Motion to                  0.10
                           Dismiss (NO CHARGE)
     03/27/20       RMK    Review/analyze Judgment Dismissing Defendant                 0.10
                           Herman (NO CHARGE)
     03/30/20       RMK    Review/analyze Order granting Herman's Motion to             0.30
                           Dismiss (NO CHARGE)
     03/31/20       LMS    Review/analyze Review and analysis of MDL                    0.50
                           procedures and relevant legal authority re: when
                           appeal can be taken by plaintiff in light of order
                           granting dismissal with prejudice (NO CHARGE)
     11/16/20       RMK    Communicate (with client) letter to Stephen Herman           0.20
                           advising

     11/16/20       RMK    Communicate (with client) email to Chad Zupke                0.20


     11/16/20       RMJ    Review/analyze (initial) voluminous 180 page RICO            0.80
                           complaint (billed at 50 percent)
     11/16/20       RMJ    Review/analyze status of various Donovan related             0.60
                           cases; including the four dismissed plaintiffs cases
                           (billed at 50 percent)
     11/16/20       RMJ    Review/analyze Donovan qui tam case that was                 0.40
                           unsealed and voluntarily dismissed (billed at 50
                           percent)
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                              Klein Park & Lowe, P.L.
Client Ref: 194154 - DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
DEDUCTIBLE BILL NO.: 21399                                                          Page 2
January 29, 2021
Label147
Date       Atty   Services                                               Hours
11/16/20   RMJ    Communicate (with client) multiple emails with clients  0.20
                                              (billed at 50 percent)
11/17/20   RMK    Communicate (with client) email to and from Chad        0.20
                  Zupke re:

11/18/20   RMJ    Review/analyze interested persons and corporate            0.10
                  disclosure order (billed at 50 percent)
11/18/20   RMJ    Review/analyze previously filed Motions to Dismiss;        0.30
                  Motions to Transfer; and other core documents from
                  previous dispute with Donovan (billed at 50 percent)
11/18/20   RMJ    Review/analyze Continued review of voluminous              0.50
                  complaint to evaluate possible res juidicata defenses;
                  review of docket and any signs of possible service
                  (billed at 50 percent)
11/19/20   RMJ    Review/analyze                                             0.40


                                                         (billed at 50
                  percent)
11/23/20   RMJ    Review/analyze comparison of the original complaint        0.30
                  to the new complaint (billed at 50 percent)
11/23/20   RMJ    Review/analyze JMPL transfer notice and briefing           0.20
                  schedule (billed at 50 percent)
11/23/20   RMJ    Communicate (with client) Extended telephone               0.40
                  conference with client to discuss case
11/23/20   RMK    Review/analyze file review in preparation for              0.40
                  telephone conference with Jim Roy and Steve
                  Herman,

11/23/20   RMK    Communicate (with client) telephone conference with        0.20
                  Jim Roy and Steve Herman
                  (billed at 50 percent)
11/30/20   RMJ    Review/analyze multiple orders re: Donovan's               0.10
                  opposition to CTO (billed at 50 percent)
11/30/20   RMJ    Communicate (with client) multiple emails with client      0.20
                  re:
12/10/20   RMJ    Review/analyze Donovan's Motion to Vacate                  0.40
                  conditional transfer order with brief in support (billed
                  at 50 percent)
12/11/20   RMJ    Draft and Revise outlines of argument in support of        0.30
                  transfer to MDL and in support of CTO-140 (billed at
                  50 percent)
12/14/20   RMJ    Review/analyze Donovan's exhibit package for               0.50
                  Motion to Vacate CTO (billed at 50 percent)
12/14/20   RMJ    Draft and Revise begin work on opposition to               0.90
                  Donovan's Motion to Vacate CTO (billed at 50
                  percent)
12/15/20   RMJ    Draft and Revise work on opposition to Motion to           0.30
                  Vacate CTO (billed at 50 percent)
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 27 of 40

                              Klein Park & Lowe, P.L.
Client Ref: 194154 - DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
DEDUCTIBLE BILL NO.: 21399                                                           Page 3
January 29, 2021
Label147
Date       Atty   Services                                              Hours
12/16/20   RMJ    Draft and Revise Continued drafting response in        1.10
                  opposition to Motion to Vacate (billed at 50 percent)
12/16/20   RMJ    Review/analyze documents filed in MD. Fla re: Notice 0.10
                  of CTO-140 (billed at 50 percent)
12/17/20   RMJ    Communicate (other outside counsel) Extended           0.50
                  telephone conference with all defense counsel re:
                  response to CTO-140 (billed at 50 percent)
12/17/20   RMJ    Plan and prepare for meeting with all defense          0.30
                  counsel to discuss approach to Motion to Vacate
                  (billed at 50 percent)
12/18/20   RMJ    Review/analyze authorities on                          0.30

                  (billed at 50 percent)
12/18/20   RMJ    Draft and Revise work on response to Motion to              0.20
                  Vacate CTO-140 including work on Barbier issue
                  (billed at 50 percent)
12/21/20   RMJ    Draft and Revise (continued) work on opposition to          1.10
                  Motion to Vacate CTO-140 including work on Barbier
                  issue (billed at 50 percent)
12/21/20   RMJ    Draft and Revise continued review of prior filings by       0.60
                  Donovan to prepare opposition to motion to vacate
                  CTO-140; including detailed review of order, motions
                  , complaints, etc for similarities (billed at 50 percent)
12/22/20   RMJ    Communicate (other outside counsel) telephone               0.40
                  conference meeting with all defense counsel re: joint
                  approach to complaint (billed at 50 percent)
12/22/20   RMJ    Draft and Revise continued work on Response in              1.10
                  Opposition to Motion to Vacate CTO-140; continued
                  work on section of paper comparing Donovan I to
                  Donovan II (billed at 50 percent)
12/23/20   RMJ    Draft and Revise continued analysis of Donovan I            0.70
                  and Donovan II complaints to prepare Response to
                  Motion to Vacate CTO-140; detailed analysis of same
                  (billed at 50 percent)
12/24/20   RMJ    Draft and Revise continued work on Response to              0.40
                  Motion to Vacate CTO-140; drafting of short
                  argument re: Barbier recusal issue; research re:
                  same to bring into alignment with findings and agreed
                  approach of all defense counsel (billed at 50 percent)
12/28/20   RMJ    Review/analyze Co-Defendant's Response in                   0.20
                  Opposition to Motion to Vacate with focus on Barbier
                  issue (billed at 50 percent)
12/28/20   RMJ    Draft and Revise Continued work on Response in              2.20
                  Opposition to Motion to Vacate CTO-140; reworked
                  entire argument section to incorporate comparison of
                  allegations in Donovan I complaint with Donovan II
                  (billed at 50 percent)
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 28 of 40

                             Klein Park & Lowe, P.L.
Client Ref: 194154 - DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
DEDUCTIBLE BILL NO.: 21399                                                        Page 4
January 29, 2021
Label147
Date       Atty   Services                                              Hours
12/28/20   RMJ    Draft and Revise revisions to Response in Opposition 1.50
                  to Motion to Vacate CTO-140; added arguments re:
                  RICO claim merely repackaged version of eight-step
                  fraud theory (billed at 50 percent)
12/28/20   RMJ    Draft and Revise Completed first draft of Response in 0.60
                  Opposition to Motion to Vacate CTO-140 (billed at 50
                  percent)
12/30/20   RMJ    Review/analyze Co-Defendant's Response in              0.20
                  Opposition to Motion to Vacate (billed at 50 percent)
12/30/20   RMJ    Draft and Revise Completed revisions to Motion to      1.20
                  Vacate CTO-140 based upon further analysis and
                  research (billed at 50 percent)
12/31/20   RMJ    Communicate (other external) Extended telephone        0.30
                  conference with all counsel re: filings for Monday
                  (billed at 50 percent)
12/31/20   RMJ    Draft and Revise minor revisions to Response to        0.20
                  Motion to Vacate CTO-140 (billed at 50 percent)

                                 Summary of Services
Atty                                                   Rate           Hours      Amount
RMK        ROBERT M. KLEIN (M)                         0.00             0.50         0.00
RMK        ROBERT M. KLEIN (M)                       250.00             1.20       300.00
RMJ        RICHARD M. JONES (M)                        0.00             0.40         0.00
RMJ        RICHARD M. JONES (M)                      250.00            20.10     5,025.00
LMS        LELIA M. SCHLEIER (M)                       0.00             0.50         0.00
Total for Services                                                     22.70    $5,325.00

                                                    Sub Total                   $5,325.00

                          Your portion of due amount 100 %                      $5,325.00

                             Total for Services and Expenses                    $5,325.00
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 29 of 40


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                                     Suite 2000
                               Miami, Florida 33156
                                   (305)670-3700

DEDUCTIBLE BILL NO.: 21399
Bill Date:           January 29, 2021
Matter Code:         194154A
Matter Name:         DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.

                                              Sub Total                $5,325.00

                             Your portion of due amount                $5,325.00

                         Total for Services and Expenses               $5,325.00


            Amount enclosed: ____________________________________
       Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 30 of 40
                                                 LAW OFFICES OF




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                                                 Miami, Florida 33156
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Fax 305.670.8592                                                                                  Fax 561.659.2093




     PERSONAL AND CONFIDENTIAL                                                             April 29, 2021
     Stephen J. Herman, Esquire                                              DEDUCTIBLE BILL NO.: 21798
     Herman, Herman & Katz, LLC


     CLIENT:        SHAND_DED - MARKEL SERVICE, INC. (MARKEL/SHAND DEDUCTIBLES)
     Re:            194154A DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
                    CLAIM #: MXXL55703 PROSIGHT: EWR0016103
                    INS: Stephen J. Herman, Esq, Herman, Herman & Katz
                    CLMT: Brian J. Donovan, Esquire/RMK/RMJ
                    EMAIL:
                    DIRECT

     Date           Atty   Services                                                Hours
     01/04/21       RMJ    Review/analyze and finalized response in opposition      2.20
                           to motion to vacate; completed citation review; review
                           of exhibits, edited motion to stylistic conform to
                           co-defendants' anticipated submissions (billed at 50
                           percent)
     01/04/21       RMJ    Communicate (other external) email to all counsel re:    0.10
                           caught issue in conducting citation check (billed at 50
                           percent)
     01/04/21       RMJ    Communicate (with client) status report to carrier       0.20
                           (billed at 50 percent)
     01/04/21       RMJ    Review/analyze co-defendant's respective                 0.20
                           oppositions to CTO-140 motion to vacate (billed at 50
                           percent)
     01/08/21       RMJ    Review/analyze Donovan's objections to proposed          0.20
                           settlement (where he basically repeats his 8-step
                           fraud argument) (billed at 50 percent)
     01/11/21       RMJ    Review/analyze Plaintiff's response to response in       0.20
                           opposition to motion to vacate (billed at 50 percent)
     01/26/21       RMJ    Review/analyze paperless order disposing of              0.10
                           Donovan's surreply (billed at 50 percent)
     01/26/21       RMJ    Review/analyze Plaintiff's motion for permission to file 0.10
                           motion for clarification (billed at 50 percent)
     02/03/21       RMJ    Communicate (with client) multiple emails with           0.20
                           carriers re:
                                    )
     02/04/21       RMJ    Communicate (other external) status report to carrier    0.10

     02/04/21       RMJ    Review/analyze order transferring case to MDL 2179           0.20
                           (billed at 50 percent)
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 31 of 40

                           Klein Park & Lowe, P.L.
Client Ref: 194154 - DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.
DEDUCTIBLE BILL NO.: 21798                                              Page 2
April 29, 2021
Label147

                               Summary of Services
Atty                                                 Rate     Hours    Amount
RMJ        RICHARD M. JONES (M)                    250.00      3.80     950.00
Total for Services                                             3.80    $950.00

                                                Sub Total              $950.00

                         Your portion of due amount 100 %              $950.00

                           Total for Services and Expenses             $950.00
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 32 of 40


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DEDUCTIBLE BILL NO.: 21798
Bill Date:           April 29, 2021
Matter Code:         194154A
Matter Name:         DONOVAN, ESQ., BRIAN J. STEPHEN J. HERMAN, ESQ.

                                              Sub Total                $950.00

                             Your portion of due amount                $950.00

                         Total for Services and Expenses               $950.00


            Amount enclosed: ____________________________________
       Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 33 of 40
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Fax 305.670.8592                                                                                 Fax 561.659.2093




     PERSONAL AND CONFIDENTIAL                                                          January 28, 2021
     James Roy, Esquire                                                      DEDUCTIBLE BILL NO.: 21400
     Domengeaux Wright Roy & Edwards, LLC



     CLIENT:        SWISS_REINSU - SWISS REINSURANCE AMERICA CORPORATION
     Re:            204585A DONOVAN, BRIAN J. v JAMES P. ROY
                    CLM #: 020191412901 ELEC:
                    INS: James Roy, Esquire
                    CLMT: Brian J. Donovan/RMJ/RMK
                    OFFICE:
                    DIRECT:
                    Deductible:   $25,000.00

     Date           Atty   Services                                                   Hours
     11/16/20       RMK    Communicate (with client) email to Jim Roy                  0.10

     11/16/20       RMK    Communicate (other external) Extended telephone              0.40
                           conference with David Marseilles

     11/16/20       RMJ    Review/analyze (initial) voluminous 180 page RICO            0.80
                           complaint (billed at 50 percent)
     11/16/20       RMJ    Review/analyze status of various Donovan related             0.60
                           cases; including the four dismissed Plaintiff's cases
                           (billed at 50 percent)
     11/16/20       RMJ    Review/analyze Donovan qui tam case that was                 0.40
                           unsealed and voluntarily dismissed (billed at 50
                           percent)
     11/16/20       RMJ    Communicate (with client) multiple emails with clients       0.20
                                                          (billed at 50 percent)
     11/18/20       RMK    Communicate (with client) new file acknowledgment            0.20
                           correspondence to David Marsielle (NO CHARGE)
     11/18/20       RMK    Communicate (with client) retention to represent             0.20
                           correspondence to insured along with statement of
                           insured's rights (NO CHARGE)
     11/18/20       RMJ    Review/analyze interested persons and corporate              0.10
                           disclosure order (billed at 50 percent)
     11/18/20       RMJ    Review/analyze previously filled Motions to Dismiss;         0.30
                           Motions to Transfer, and other core documents from
                           previous dispute with Donovan (billed at 50 percent)
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 34 of 40

                              Klein Park & Lowe, P.L.
Client Ref: 204585 - DONOVAN, BRIAN J. v JAMES P. ROY
DEDUCTIBLE BILL NO.: 21400                                                           Page 2
January 28, 2021
Label147
Date       Atty   Services                                                   Hours
11/18/20   RMJ    Review/analyze continued review of voluminous               0.50
                  complaints to evaluate

                         billed at 50 percent )
11/19/20   RMJ    Review/analyze                                              0.40


                                                           (billed at 50
                  percent)
11/23/20   RMK    Review/analyze file review in preparation for               0.40
                  telephone conference with Jim Roy and Steve
                  Herman, including history of prior litigation (billed at
                  50 percent)
11/23/20   RMK    Communicate (with client) telephone conference with         0.20
                  Jim Roy and Steve Herman to discuss
                  (billed at 50 percent)
11/23/20   RMJ    Review/analyze comparison of the original complaint         0.30
                  to new complaint (billed at 50 percent)
11/23/20   RMJ    Review/analyze JMPL transfer notice and briefing            0.20
                  schedule (billed at 50 percent)
11/30/20   RMJ    Review/analyze multiple orders re: Donovan's                0.10
                  opposition to CTO (billed at 50 percent)
12/01/20   RMJ    Draft and Revise outlines of Argument in Support of         0.30
                  Transfer to MDL and in support of CTO-140 (billed at
                  50 percent)
12/10/20   RMJ    Review/analyze Donovan's Motion to Vacate                   0.40
                  Conditional Transfer Order with brief in support (billed
                  at 50 percent)
12/14/20   RMJ    Review/analyze Donovan's exhibit package for                0.50
                  Motion to Vacate CTO (billed at 50 percent)
12/14/20   RMJ    Draft and Revise begin work on opposition to                0.90
                  Donovan's Motion to Vacate CTO (billed at 50
                  percent)
12/15/20   RMJ    Draft and Revise work on opposition to Motion to            0.30
                  Vacate CTO (billed at 50 percent)
12/16/20   RMJ    Review/analyze continued drafting Response in               1.10
                  Opposition to Motion to Vacate (billed at 50 percent)
12/16/20   RMJ    Review/analyze documents filed in MD. Fla re: Notice        0.10
                  of CTO-140 (billed at 50 percent)
12/17/20   RMJ    Communicate (with client) multiple emails with client       0.30
                  re:
12/17/20   RMJ    Communicate (other outside counsel) extended                0.50
                  telephone conference with all defense counsel re:
                                         (billed at 50 percent)
12/17/20   RMJ    Plan and prepare for meeting with all defense               0.30
                  counsel to discuss
                  (billed at 50 percent)
12/18/20   RMJ    Communicate (with client) email from and to James           0.50
                  Roy re:
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 35 of 40

                              Klein Park & Lowe, P.L.
Client Ref: 204585 - DONOVAN, BRIAN J. v JAMES P. ROY
DEDUCTIBLE BILL NO.: 21400                                                            Page 3
January 28, 2021
Label147
Date       Atty   Services                                                    Hours
12/18/20   RMJ    Draft and Revise work on Response to Motion to               0.20
                  Vacate CTO-140 including work on Barbier issue
                  (billed at 50 percent)
12/18/20   RMJ    Review/analyze authorities on                                0.30

                  (billed at 50 percent)
12/21/20   RMJ    Review/analyze Continued review of prior filings by          0.60
                  Donovan to prepare Opposition to Motion to Vacate
                  cto-140; including detailed review of order, motions,
                  complaints, etc for similarities (billed at 50 percent)
12/21/20   RMJ    Draft and Revise (continued) work on opposition to           1.10
                  Motion to Vacate CTO-140 including work on Barbier
                  issue (billed at 50 percent)
12/22/20   RMJ    Communicate (other outside counsel) Telephone                0.40
                  conference meeting with all defense counsel re:
                                               (billed at 50 percent)
12/22/20   RMJ    Draft and Revise continued work on Response in               1.10
                  Opposition to Motion to Vacate cto-140; continued
                  work on section of paper comparing Donovan I to
                  Donovan II (billed at 50 percent)
12/23/20   RMJ    Draft and Revise continued analysis of Donovan I             0.70
                  and Donovan II complaints to prepare Response to
                  Motion to Vacate CTO-140; detailed analysis of same
                  (billed at 50 percent)
12/24/20   RMJ    Draft and Revise continued work on Response to               0.40
                  Motion to Vacate CTO-140; drafting of short
                  argument re:                          ; research re: same
                  to bring into alignment with findings and agreed
                  approach of all defense counsel (billed at 50 percent)
12/28/20   RMJ    Review/analyze Co-Defendant's Response in                    0.20
                  Opposition to Motion to Vacate with focus on Barbier
                  issue (billed at 50 percent)
12/28/20   RMJ    Draft and Revise continued work on Response in               2.20
                  Opposition to Motion to Vacate CTO-140; reworked
                  entire argument section to incorporate
                                                              (billed at 50
                  percent)
12/28/20   RMJ    Draft and Revise revisions to Response in Opposition         1.50
                  to Motion to Vacate CTO-140; added arguments re:
                  RICO claim merely repackaged version of eight-step
                  fraud theory (billed at 50 percent)
12/28/20   RMJ    Draft and Revise (completed) first draft of Response         0.60
                  in Opposition to Motion to Vacate CTO-140 (billed at
                  50 percent)
12/30/20   RMJ    Review/analyze Co-Defendant's Response in                    0.20
                  Opposition to Motion to Vacate (billed at 50 percent)
12/30/20   RMJ    Draft and Revise (completed) revisions to Motion to          1.20
                  Vacate CTO-140 based upon further analysis and
                  research (billed at 50 percent)
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 36 of 40

                             Klein Park & Lowe, P.L.
Client Ref: 204585 - DONOVAN, BRIAN J. v JAMES P. ROY
DEDUCTIBLE BILL NO.: 21400                                                     Page 4
January 28, 2021
Label147
Date       Atty   Services                                          Hours
12/31/20   RMJ    Communicate (other external) extended telephone    0.30
                  conference with all counsel re:
                  (billed at 50 percent)
12/31/20   RMJ    Draft and Revise minor revisions to Response to    0.20
                  Motion to Vacate CTO-140 (billed at 50 percent)

                               Summary of Services
Atty                                                 Rate           Hours     Amount
RMK        ROBERT M. KLEIN (M)                       0.00             0.40        0.00
RMK        ROBERT M. KLEIN (M)                     225.00             1.10      247.50
RMJ        RICHARD M. JONES (M)                    225.00            20.30    4,567.50
Total for Services                                                   21.80   $4,815.00

                                                   Sub Total                 $4,815.00

                          Your portion of due amount 100 %                   $4,815.00

                            Total for Services and Expenses                  $4,815.00
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 37 of 40


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DEDUCTIBLE BILL NO.: 21400
Bill Date:           January 28, 2021
Matter Code:         204585A
Matter Name:         DONOVAN, BRIAN J. v JAMES P. ROY

                                              Sub Total             $4,815.00

                             Your portion of due amount             $4,815.00

                         Total for Services and Expenses            $4,815.00


            Amount enclosed: ____________________________________
       Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 38 of 40
                                                  LAW OFFICES OF




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     PERSONAL AND CONFIDENTIAL                                                              April 29, 2021
     James Roy, Esquire                                                       DEDUCTIBLE BILL NO.: 21799
     Domengeaux Wright Roy & Edwards, LLC


     CLIENT:        SWISS_REINSU - SWISS REINSURANCE AMERICA CORPORATION
     Re:            204585A DONOVAN, BRIAN J. v JAMES P. ROY
                    CLM #: 020191412901 ELEC:
                    INS: James Roy, Esquire
                    CLMT: Brian J. Donovan/RMJ/RMK
                    OFFICE:
                    DIRECT:
                    Deductible:   $25,000.00

     Date           Atty   Services                                                    Hours
     01/04/21       RMJ    Review/analyze and finalized response in opposition          2.20
                           to motion to vacate; completed citation review; review
                           of exhibits, edited motion to stylistic conform to
                           co-defendants' anticipated submissions (billed at 50
                           percent)
     01/04/21       RMJ    Communicate (other external) email to all counsel re:        0.10
                                                                         (billed at 50
                           percent)
     01/04/21       RMJ    Communicate (with client) status report to carrier           0.20
                           (billed at 50 percent)
     01/04/21       RMJ    Review/analyze co-defendant's respective                     0.20
                           oppositions to CTO-140 motion to vacate (billed at 50
                           percent)
     01/08/21       RMJ    Review/analyze Donovan's objections to proposed              0.20
                           settlement (where he basically repeats his 8-step
                           fraud argument) (billed at 50 percent)
     01/11/21       RMJ    Review/analyze Plaintiff's response to response in           0.20
                           opposition to motion to vacate (billed at 50 percent)
     01/26/21       RMJ    Review/analyze paperless order disposing of                  0.10
                           Donovan's surreply (billed at 50 percent)
     01/26/21       RMJ    Review/analyze Plaintiff's motion for permission to file 0.10
                           motion for clarification (billed at 50 percent)
     02/03/21       RMJ    Communicate (with client) multiple emails with               0.20
                           carriers re: status of transfer order (billed at 50
                           percent)
     02/04/21       RMJ    Review/analyze order transferring case to MDL 2179           0.20
                           (billed at 50 percent)
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 39 of 40

                             Klein Park & Lowe, P.L.
Client Ref: 204585 - DONOVAN, BRIAN J. v JAMES P. ROY
DEDUCTIBLE BILL NO.: 21799                                                       Page 2
April 29, 2021
Label147
Date       Atty   Services                                              Hours
02/04/21   RMJ    Communicate (other external) status report to carrier  0.10


                               Summary of Services
Atty                                                 Rate             Hours     Amount
RMJ        RICHARD M. JONES (M)                    225.00              3.80      855.00
Total for Services                                                     3.80     $855.00

                                                    Sub Total                   $855.00

                          Your portion of due amount 100 %                      $855.00

                             Total for Services and Expenses                    $855.00
 Case 2:10-md-02179-CJB-DPC Document 27202-5 Filed 08/16/21 Page 40 of 40


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DEDUCTIBLE BILL NO.: 21799
Bill Date:           April 29, 2021
Matter Code:         204585A
Matter Name:         DONOVAN, BRIAN J. v JAMES P. ROY

                                              Sub Total             $855.00

                             Your portion of due amount             $855.00

                         Total for Services and Expenses            $855.00


            Amount enclosed: ____________________________________
